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                IN THE UNITED STATES COURT OF APPEALS FOR THE NINTH
                                      CIRCUIT

              CASE NO.: 24-5538
              NEO4J, INC., a Delaware
              corporation, and NEO4J SWEDEN
              AB, a Swedish corporation
              Plaintiffs-Appellees,

              v.

              JOHN MARK SUHY,
              Defendant-Appellant.



                              DECLARATION OF JOHN MARK SUHY JR



              I, John Mark Suhy Jr, declare as follows:


                   1. I am the Defendant-Appellant in this matter. I have personal

                        knowledge of the facts stated herein and, if called upon, could and

                        would testify competently thereto.

                   2. On February 5, 2025, I received an email from Appellees’ counsel,

                        Mr. Jeremy Moseley of Spencer Fane LLP, requesting my position

                        on a motion to extend the deadline to file their Answer Brief by 21

                        days to March 17, 2025, citing ongoing motions in this appeal and

                        a previously scheduled intellectual property conference that two of
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                        their attorneys would be attending. A true and correct copy of this

                        email exchange is attached as Exhibit A.

                 3. In response, I informed Mr. Moseley that I opposed the extension

                        unless Appellees agreed to suspend all collection efforts, including

                        garnishments and other enforcement actions, pending the outcome

                        of this appeal. I further communicated that, if Appellees agreed to

                        pause collections, I would not object to the extension and would be

                        open to a longer timeframe if needed.

                 4. Appellees did not respond to my request and instead proceeded

                        with filing their motion for an extension.

                 5. The requested extension is prejudicial to me because Appellees

                        continue to pursue aggressive post-judgment collection efforts in

                        Fairfax County Circuit Court while the appeal remains pending.

                        The delay sought by Appellees only prolongs this enforcement

                        while delaying resolution of the legal issues on appeal.

                 6. This is now the third extension of time concerning Appellees’

                        Answer Brief. The first extension was granted by mutual

                        agreement during mediation. The second was a streamlined

                        extension under Circuit Rule 31-2.2, which I initially opposed but
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                        later withdrew my objection to in good faith. This latest motion

                        contradicts prior assurances from Appellees that their previous

                        extension would be sufficient.

                 7. Appellees’ justification for the extension is inconsistent. In their

                        motion, they claim the extension is necessary due to unexpected

                        motion practice, yet their February 5, 2025 email makes clear that

                        a pre-scheduled firm-wide intellectual property conference was a

                        primary reason for their request. This contradiction undercuts

                        their claim that the extension is based on unforeseen

                        circumstances.

                 8. I am a pro se litigant and have met all my deadlines without

                        requesting extensions, despite the complexities of this appeal. In

                        contrast, Appellees, represented by a well-resourced law firm,

                        seek additional time while refusing reasonable accommodations

                        regarding collections.

                 9. Given these circumstances, I respectfully request that the Court

                        deny Appellees’ motion and maintain the existing deadline for

                        their Answer Brief.
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              I declare under penalty of perjury under the laws of the United States

              of America that the foregoing is true and correct.


              Executed on February 6, 2025

              From Alexandria, VA



              John Mark Suhy Jr.
              /s/ John Mark Suhy Jr. Pro Se
              8814 Danewood Dr
              Alexandria, VA 22308
              jmsuhy@gmail.com
              703-862-7780
